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                                                                      FILED: October 1, 2013

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                         ___________________

                                              No. 13-2212
                                          (7:11-cv-00169-BO)
                                         ___________________


        CHRISTINA LYNN JACOBS

                     Plaintiff - Appellant

        v.

        ADMINISTRATIVE OFFICE OF THE COURTS; JAN KENNEDY, in her official
        capacity as New Hanover County Clerk of Superior Court

                     Defendants - Appellees

         and

        BRENDA TUCKER, New Hanover County Clerk of Superior Court; MELISSA
        GRIFFIN; DEBRA EXCELL

                     Defendants


        This case has been opened on appeal.

        Originating Court                           United States District Court for the
                                                    Eastern District of North Carolina at
                                                    Wilmington
        Originating Case Number                     7:11-cv-00169-BO
        Date notice of appeal filed in              09/30/2013
        originating court:




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        Appellant                                  Christina Lynn Jacobs

        Appellate Case Number                      13-2212
        Case Manager                               Amy L. Carlheim
                                                   804-916-2788




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